891 F.2d 287
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William WELLONS, Plaintiff-Appellant,v.J.B. WATSON, Adjustment Committee Chairman;  W. Towns,Adjustment Member;  B. Walton, Adjustment Member;Brunswick Correctional Center;  J.W.Tucker, Captain, Defendants-Appellees.
    No. 89-6712.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 18, 1989.Decided:  Nov. 14, 1989.
    
      William Wellons, appellant pro se.
      Richard Francis Gorman III, Office of the Attorney General of Virginia, for appellees.
      Before MURNAGHAN and CHAPMAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      William Wellon appeals from the magistrate's order* denying relief under 42 U.S.C. § 1983.   Our review of the record and the magistrate's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the magistrate.   Wellons v. Watson, CA-89-92-R (E.D.VA. June 23, 1989).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         The parties consented to the jurisdiction of the magistrate.   See 28 U.S.C. § 636(c)(1)
      
    
    